                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                    Case No. 06-00298-07-CR-W-BCW

       v.

JEFFREY W. SINGLETON,

                      Defendant.

                              ORDER TO REDUCE TERM
                         OF IMPRISONMENT TO TIME SERVED

       BEFORE THE COURT is a motion filed by the United States of America and the

Director of the Federal Bureau of Prisons pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), seeking a

modification of the term of imprisonment of the defendant, Jeffrey Singleton, to time served and

commencement of a five-year term of supervised release previously imposed. The Court finds:

       1.      Defendant, Jeffrey Singleton, pled guilty to violating 21 U.S.C. §§ 841(a)(1),

(b)(1)(A); and 21 U.S.C. § 846, Conspiracy to Distribute 500 Grams or More of

Methamphetamine (Mixture) on March 13, 2008.

       2.      Mr. Singleton was sentenced on June 30, 2008, in the United States District Court

for the Western District of Missouri, to a term of 120 months of imprisonment followed by a

five-year term of supervised release. Mr. Singleton’s Good Conduct Time release date is July 9,

2015. He is not expected to survive to that date.

       3.      Mr. Singleton, age 55, has been diagnosed with liver cancer. He also has a

history of cirrhosis of the liver and chronic hepatitis C. Despite several rounds of chemotherapy,

Mr. Singleton’s condition continues to deteriorate. He was transferred to the Long-Term Care

floor at USMCFP Springfield on January 30, 2013, where he requires assistance with all of his




      Case 4:06-cr-00298-BCW           Document 659        Filed 05/03/13     Page 1 of 2
Activities of Daily Living. He is receiving palliative care. His doctor has stated his prognosis is

poor and his life expectancy is less than twelve months.

       4.      Title 18 U.S.C. § 3582(c)(1)(A)(i) authorizes the Court, upon motion of the

Director of the Bureau of Prisons, to modify a term of imprisonment upon the finding that

extraordinary and compelling reasons warrant the reduction. The Director of the Bureau of

Prisons contends, and this Court agrees, that the defendant’s terminal illness constitutes an

extraordinary and compelling reason that warrants the requested reduction.

       IT IS THEREFORE ORDERED that the defendant’s term of imprisonment is hereby

reduced to the time he has already served.

       IT IS FURTHER ORDERED that the defendant shall be released from the custody of

the Federal Bureau of Prisons as soon as his medical condition permits, the release plan is

implemented, and travel arrangements can be made.

       IT IS FURTHER ORDERED that upon his release from the custody of the Federal

Bureau of Prisons, the defendant shall begin serving the five-year term of supervised release

previously imposed.

       DONE AND ORDERED THIS 3rd DAY OF MAY 2013.


                                              /S/ Brian C. Wimes
                                      _____________________________________
                                      JUDGE BRIAN C. WIMES
                                      UNITED STATES DISTRICT JUDGE




                                                 2


      Case 4:06-cr-00298-BCW            Document 659        Filed 05/03/13      Page 2 of 2
